Case 2:21-cv-00678-NRM-AYS                  Document 197           Filed 01/26/24       Page 1 of 2 PageID #:
                                                  2981

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 VIA ECF

                                                                                 Dean N. Panos
 January 26, 2024                                                                Tel. (312) 923-2765
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                                                                                 dpanos@jenner.com
 The Honorable Nina R. Morrison
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 RE:       In re Hain Celestial Heavy Metals Baby Food Litig., Case No. 2:21-cv-678-NM-AYS
           Joint Status Report

 Dear Judge Morrison:

 The parties1 submit this joint status report pursuant to the Court’s May 9, 2023 Minute Order,
 which stayed this action pending the Second Circuit’s decision in Thomas v. Beech-Nut Nutrition
 Co., No. 23-220, and directed the parties to file a status report once that decision issued. As
 Plaintiffs advised the Court in their Notice of Recent Decision (ECF No. 196), the Second Circuit
 issued a summary order in Beech-Nut on January 18, 2024. In light of that decision, the parties
 agree that this Court should lift the stay.

 Hain Celestial intends to renew its motion to dismiss Plaintiffs’ Consolidated Amended Class
 Action Complaint, which this Court “denied without prejudice to renew” in light of the stay. The
 parties do not believe that a pre-motion conference is necessary unless the Court wishes to hold
 one. If the Court wishes to proceed without a pre-motion conference, the parties propose the
 following briefing schedule:

          Hain Celestial shall have until February 15, 2024, to serve its renewed motion to dismiss;

          Plaintiffs shall have until March 14, 2024, to serve their opposition to Hain Celestial’s
           motion; and

          Hain Celestial shall have until April 4, 2024, to serve its reply in support of the renewed
           motion to dismiss.


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   Plaintiffs’ counsel, Danielle Izzo, confirmed via email that Plaintiffs concur in the filing of this
 joint status report and agree to the briefing schedule proposed herein.


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Case 2:21-cv-00678-NRM-AYS           Document 197        Filed 01/26/24     Page 2 of 2 PageID #:
                                           2982
 The Honorable Nina R. Morrison
 United States District Judge
 Page 2




 The parties will serve and file all motion papers in accordance with the “bundling rule” set forth
 in Section 5.2.3.1 of the Court’s Individual Practice Rules.


 Respectfully submitted,

 /s/ Dean N. Panos
     Dean N. Panos
     Counsel for Defendant The Hain Celestial Group, Inc.


 CC:    All counsel (via ECF)
